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       A major crypto hedge fund is
       wobbling as $10 billion Three
       Arrows Capital sees a spate of
       liquidations
       June 16, 2022 2:20 PM PDT




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       biggest features, exclusive interviews, and investigations.

       As the crypto winter intensified in early June, Galaxy Digital CEO Mike
       Novogratz said he thinks two-thirds of crypto hedge funds will go out
       of business. His prediction took days to start bearing out.




https://fortune.com/2022/06/16/crypto-crash-hedge-fund-three-arrows-capital-insolvency-rumors-novogratz/               6/24/22, 8:56 AM
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       After $400 million in liquidations, a major hedge fund in the space,
       Singapore-based Three Arrows Capital, or 3AC, is reportedly facing
       insolvency, and many dominos look likely to fall next.

       3AC's lenders continue to come forward as the fund, which managed
       $10 billion in assets in March, according to blockchain analytics firm
       Nansen, fails to meet margin calls and liquidates its cryptocurrency
       holdings, adding more downward pressure on the beleaguered
       market.

       There were “some major shifts in [3AC’s] positions” early in the week,
       Andrew Thurman, content lead and analyst at leading blockchain data
       firm Nansen, told Fortune on Tuesday. “I don't want to comment on
       what that might mean for their health, but it's clear that they're
       reshuffling major portions of their holdings.”

       As rumors began to swirl of possible insolvency, 3AC cofounder Su
       Zhu was initially silent, then seemed to acknowledge the turbulence



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       on Tuesday, tweeting, “We are in the process of communicating with
       relevant parties and fully committed to working this out.”




       Cryptocurrency lender BlockFi is among the most recent to liquidate
       some of 3AC’s positions, according to the Financial Times. BlockFi
       CEO Zac Prince confirmed its exit in a Thursday tweet: “BlockFi can
       confirm that we exercised our best business judgment recently with a
       large client that failed to meet its obligations on an overcollateralized
       margin loan. We fully accelerated the loan and fully liquidated or
       hedged all the associated collateral.”




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       Since then, others with exposure to 3AC have come forward. Finblox,
       a platform offering users up to 90% yield to deposit their
       cryptocurrency, reduced its withdrawal limits by two-thirds and cited
       its relationship with 3AC.




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       On Twitter, Deribit, a cryptocurrency derivatives exchange, claimed on
       Thursday that 3AC is a shareholder of its parent company, adding that
       Deribit has “a small number of accounts that have a net debt to us



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       that we consider as potentially distressed.”

       Deribit also tweeted, “Even in the event that none of this debt is repaid
       to us, we will remain financially healthy and operations will not be
       impacted. We can confirm all customer funds are safe and the full
       insurance fund will remain intact as is.”

       Danny Yuan, chief executive officer of cryptocurrency trading firm 8
       Blocks Capital, also claimed to have been impacted by 3AC. “We trade
       in one of 3AC’s trading accounts. This morning they took about [$1
       million] out of our accounts. I hope you pay us back asap,” he tweeted
       on Tuesday.

       Since the Terra ecosystem collapsed, with failed algorithmic
       stablecoin TerraUSD (UST) and cryptocurrency Luna (LUNC)
       becoming nearly worthless, there has been a ripple effect throughout
       the space. One of the cryptocurrency market’s biggest lending
       platforms, Celsius Network, paused its withdrawals on Sunday,
       sparking rumors of bankruptcy. Reports concerning the state of 3AC
       followed soon after, pushing further fears of contagion and systemic
       risk.

       3AC reportedly owned LUNC alongside other cryptocurrencies, and it
       was a hefty investor in the Grayscale Bitcoin Trust, or GBTC, the
       largest Bitcoin fund. According to a January 2021 SEC filing, 3AC
       owned almost 39 million units of GBTC at the end of 2020.

       “A lot of people have reached out about what they know—many of
       whom have direct relationships with 3AC as well. What we learned is
       that they were leveraged long everywhere and were getting margin-



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       called,” Yuan wrote on Twitter. “Instead of answering the margin calls,
       they ghosted everyone. The platforms had no choice but to liquidate
       their positions, causing the markets to further dump.”

       3AC did not immediately respond to Fortune’s request for comment.




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